8:14-cr-00324-LSC-SMB        Doc # 81     Filed: 07/07/15   Page 1 of 3 - Page ID # 274




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                8:14CR324
                    Plaintiff,

      vs.                                               PRELIMINARY ORDER OF
                                                             FORFEITURE
FERNANDO NEVAREZ-CARREON and
FAUSTINO SUASTEGUI-VILLALVA
              Defendants.


      This matter comes on before the Court upon the United States= Motion for

Issuance of Preliminary Order of Forfeiture (Filing No.71). The Court has reviewed the

record in this case and, being duly advised in the premises, finds as follows:

      1. The Defendants have entered into Plea Agreements (Filing No’s. 56 and 64),

whereby they have agreed to enter pleas of guilty to Counts I, II, III, VI, and VIII, and

agreed to admit to the Forfeiture Allegation of said Superseding Indictment.          The

Forfeiture Allegation charged the Defendants with using the following properties to

facilitate the commission of the charged crimes and/or that said property was derived

from proceeds obtained directly or indirectly as a result of the commission of the crimes:

      a.     Alienware computer processing unit (desktop), SN 6360581341

      b.     i-Phone cell phone

      c.     Samsung cell phone (Galaxy III smart phone)

      d.     AT&T Nokia cell phone

      e.     HTC Cell Phone

      f.     Electronic storage devices (thumb drive/reader, SD cards – 7 pieces)


                                            1
 8:14-cr-00324-LSC-SMB         Doc # 81   Filed: 07/07/15     Page 2 of 3 - Page ID # 275




       g.      Three thumb drive electronic storage devices

       h.      StoreJet external hard drive SN 2TBB553221965

       i.      iPad Mini (light green and black casing)

       j.      Two DVD’s and one CD storage discs

       k.      iPad (maroon casing)

       l.      Toshiba laptop S/N 6A048450Q

       m.      Thermaltake Desktop Computer

       n.      Wells Fargo savings account number 8169842104 in the name Maria N

               Mejia-Olivar at 2613 Pierce Street, Omaha, NE

       2. By virtue of said plea of guilty, the Defendants forfeit their interests in the

properties, and the United States should be entitled to possession of said property,

pursuant to 21 U.S.C. ' 853.

       3. The United States= Motion for Issuance of Preliminary Order of Forfeiture will

be granted. Accordingly,

       IT IS ORDERED:

       A. The United States= Motion for Issuance of Preliminary Order of Forfeiture

(Filing No. 71) is granted.

       B. Based upon the Forfeiture Allegation of the Indictment and the Defendants=

pleas of guilty, the United States is hereby authorized to seize the said property.

       C. The Defendants= interests in properties are hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

' 853(n)(1).



                                             2
 8:14-cr-00324-LSC-SMB         Doc # 81      Filed: 07/07/15     Page 3 of 3 - Page ID # 276




       D. The aforementioned property is to be held by the United States in its secure

custody and control.

       E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for

at least thirty consecutive days on an official internet government forfeiture site,

www.forfeiture.gov, notice of this Order, Notice of Publication evidencing the United

States= intent to dispose of the property in such manner as the Attorney General may

direct, and notice that any person, other than the Defendants, having or claiming a legal

interest in any of the subject property must file a Petition with the court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E,

above, shall be for a hearing to adjudicate the validity of the Petitioner=s interest in the

property, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner=s right, title or interest in the subject property and any

additional facts supporting the Petitioner=s claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have an interest in the property subject to this Order as a

substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       Dated this 7th day of July, 2015.

                                            BY THE COURT:

                                            s/Laurie Smith Camp
                                            Chief United States District Judge


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